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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-2110-RBJ

ADAM C. GOETSCH,

       Plaintiff,

v.

X BAR FLY, INC., dba Sato,
DOWNTOWN BROWN, dba Café 163,
and PETER TILDEN MUELLER

       Defendants.


                                NOTICE OF SETTLEMENT


       The parties, by and through their respective undersigned counsel, hereby provide

notice to the Court that they have reached a settlement in this matter. Once they have

finalized their confidential agreement shortly, they will file a joint stipulation of dismissal.

Respectfully submitted this 11th day of August, 2021,

s/ Gary M. Kramer                               s/Michael G. Brownlee
Gary M. Kramer                                  Michael G. Brownlee
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Attorney for Plaintiff                          Attorney for Defendants
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the date indicated below, I filed the foregoing with the
Court through CM/ECF, which will serve a copy on all parties of record.

___08/11/2021_____                                 /s/Gary M. Kramer________________
      Date                                         Gary M. Kramer, Attorney




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